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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS

 Christopher James Mansoori,
 (2019-1007189),

      Plaintiff,                                 No. 22 CV 1642

 v.                                              Judge Lindsay C. Jenkins

 Doe, et al.,

      Defendants.

                                        ORDER

       Plaintiff’s amended complaint [Dkt. 70] may proceed against the following
Defendants: Cook County Jail Superintendents Beacham, Queen, and McCray;
Lieutenant Holmes; Sergeant Amador; and Nurse Alesia Hines. The other
Defendants are dismissed. The Defendants who have already been served shall
respond to the amended complaint by April 5, 2024. As to Nurse Hines, the Clerk
shall issue summons for her, and by April 5, 2024, Plaintiff must file a completed
USM-285 service form, which will be forwarded to the Marshal to serve. The Marshal
may again charge Plaintiff the cost to serve Hines since Plaintiff is not proceeding in
forma pauperis. Plaintiff’s motion for more time to serve Hines and to toll the statute
of limitations for his claim against her [Dkt. 72] is denied. Though Fed. R. Civ. P.
4(m) states a complaint must be served within 90 days of its filing, complaints filed
by prisoners cannot proceed until screened by a district court. See 28 U.S.C. § 1915A.
As to Plaintiff’s request to toll the statute of limitations, the Court will not address
the issue at this time but may address it Defendant Hines raises a time-bar defense.
The Clerk is directed to send: (1) a copy of this order to Plaintiff and the U.S. Marshal
and (2) a USM-285 form to Plaintiff.

                                     STATEMENT

       Currently before the Court is Christopher Mansoori’s amended complaint for
initial review. [Dkt. 70.] Similar to his original complaint, the amended complaint
alleges that, while housed in different tiers in Divisions 2, 4, and 6 at the jail, he
endured excessive amounts of second-hand smoke from inmates smoking papers
infused with cannabinoids (synthetic marijuana) and other chemicals to get high. Id.
at 6-17. He believes the other chemicals were meth, fentanyl, paint thinner, and roach
spray, some of which was smuggled into the jail by guards and a teacher’s assistant.
Id. at 7, 10, 13. According to Plaintiff, inmates light twisted or rolled up toilet paper
to use as a “wick,” which stays lit to ignite the papers being smoked. Id. at 7. He
asserts this is a systemic, “widespread condition” that exists in every tier where he
was housed from December of 2020 to August of 2022, and that for more than 20
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months, he inhaled “toxic chemicals and burnt toilet paper.” Id. at 8-9. He alleges
that superintendents and other “ranking officials … knowingly condone” the situation
by taking inadequate steps to remedy it. Id. at 14.

      Plaintiff further explains that: he has a valvular heart backflow condition, for
which the “smoke is extremely detrimental,” id. at 9 and 17; he experienced illnesses
because of the smoke; his “aorta has narrowed by 3%”; and tests for his lungs and
respiratory tracts have been ordered but not yet performed. Id. at 8, 16-17.

       On July 18, 2022, the Court allowed Plaintiff’s original complaint to proceed
with its claims of exposure to second-hand smoke against five jail supervisory officers
and one nurse—Superintendents Beacham, Queen, and McCray; Lieutenant Holmes;
Sergeant Amador; and Nurse Lorraine (later identified as Alesia Hines). [Dkt. 7.] The
Court determined that, at the pleading stage, it could infer “the personal involvement
of senior jail officials” with respect the alleged systemic problem of second-hand
smoke. Id. at 3-4 (quoting Smith v. Dart, 803 F.3d 304, 310 n.2 (7th Cir. 2015)). The
complaint was also allowed to proceed against Nurse Lorraine (Hines), who allegedly
provided inadequate care for his health conditions related to consistently inhaling the
smoke and who said she was referring him a doctor but never did. Id. at 4. The Court,
however, dismissed non-supervisory Defendants Correctional Officers Adams,
Mintah, and unidentified John Does because the allegations against them were
conclusory and speculative. Id. Except for Nurse Hines, the Defendants not dismissed
in the July 18, 2022 order have been served and appearances have been entered for
them. [Dkts. 10, 17-21.]

       For the same reasons stated in its July 18, 2022 order, the Court allows the
amended complaint to proceed against the supervisory officers (Superintendents
Beacham, Queen, and McCray, Lt. Holmes, and Sgt. Amador) and against Nurse
Hines. These Defendants allegedly knew about the smoke in the jail areas they
supervise, but allowed the condition to continue, thus condoning such conduct. Smith
v. Dart, 803 F.3d at 310 n.2 (“the personal involvement of senior jail officials” may be
inferred at the pleading stage of a case with respect systemic, as opposed to localized,
adverse conditions). Also, Plaintiff alleges that Hines intentionally provided
inadequate care for his health conditions related to smoke inhalation and never
referred him to a doctor for testing or additional care. See Miranda v. Cty. of Lake,
900 F.3d 335, 353-54 (7th Cir. 2018) (jail medical personnel may violate the
Fourteenth Amendment if a detainee suffered an objectively serious health condition,
and their action or inaction was intentionally or recklessly inadequate).

       Like Plaintiff’s original complaint, his amended one seeks to include
Correctional Officers Adams and Mintah as Defendants. For the same reasons stated
in the Court’s July 18, 2022 order, the amended complaint’s allegations are
insufficient to support claims against these officers. Plaintiff alleges only: “Adams
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never cared [that] inmates smoked or that they had wicks,” and “Mintah tried to catch
wicks and smokers, but there were so many he could hardly combat it.” (Dkt. 70, pg.
8.) The allegation against Adams simply describes his indifference to the smoke
condition but states no action or inaction by him. The allegation against Mintah
asserts no intentional or reckless behavior, but instead simply acknowledges one
officer’s unsuccessful attempts to control an apparently uncontrollable condition. “To
state a Fourteenth Amendment conditions-of-confinement claim, a plaintiff must
allege that the complained of conditions were objectively serious, that the defendant
acted purposefully, knowingly, or perhaps even recklessly with respect to the
consequences of his actions, and that the defendant’s actions were objectively
unreasonable.” Flemino v. Eau Claire Cnty. Jail, 2023 WL 1927694, at *2 (W.D. Wis.
Feb. 10, 2023) (citing Kemp v. Fulton Cnty., 27 F.4th 491, 495 (7th Cir. 2022)).
Plaintiff alleges no conduct by Adams, nor any objectively unreasonable conduct by
Mintah. These Defendants are dismissed.

       Plaintiff’s amended complaint seeks to include two new Defendants, Nurses
Olikaqu Kingson and Velinda Llorens. As to Kingson, Plaintiff alleges only that
Kingson, while delivering medications to inmates’ cells, told Plaintiff that Kingson
could not treat him for secondhand smoke and that “it’s a security issue.” [Dkt. 70,
pg. 16.] Plaintiff states that “[t]his was the only time I had a conversation with this
man.” Id. As to Nurse Velinda Llorens, Plaintiff alleges only that on one occasion,
while visiting inmates in their cells, she told Plaintiff that there was nothing she
could do for him at that time because “the doctor is too busy, we’re backed up, that’s
why I’m coming to your cell.” Id.

       Plaintiff’s allegations about one conversation with each of these nurses—both
of whom provided reasons why he or she could not treat Plaintiff at a particular
time—are insufficient to support claims against them. To satisfy Fed. R. Civ. P.
8(a)(2)’s notice-pleading requirement, a complaint must “state a claim to relief that
is plausible on its face,” meaning its allegations must indicate “more than a sheer
possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009). A complaint’s “[f]actual allegations must be enough to raise a right to
relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
(2007). Nurse Kingson’s single comment while delivering medications—that the
smoke problem was a security and not a medical issue—does not support a
Fourteenth Amendment claim. Whether Plaintiff required treatment at that time and
whether Kingson could provide treatment when he was only there to deliver
medications are unclear from Plaintiff’s amended complaint. This single allegation
does not “raise [his] right to relief above the speculative level.” Twombly, 550 U.S. at
555.

     Similarly, Plaintiff’s allegation that Nurse Llorens wouldn’t treat Plaintiff for
smoke-related medical issues on one occasion when “the doctor [wa]s too busy,” (Dkt.
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70, pg. 16), asserts too little to state a claim beyond the speculative level. These
Defendants are dismissed.

       Accordingly, for the reasons stated above, Plaintiff’s amended complaint may
proceed against Defendants Cook County Jail Superintendents Beacham, Queen, and
McCray, Lt. Holmes, Sgt. Amador, and Nurse Hines. The other Defendants are
dismissed. Beacham, Queen, McCray, Holmes, and Amador have already been served
in this case and attorneys have entered appearances for them. They need not be
served again. Nurse Hines, however, is a newly added (or identified) Defendant who
must be served. The Clerk of this Court will issue summons for service of the amended
complaint on Hines.

Enter: 22-cv-1642
Date: March 13, 2024




                                             Lindsay C. Jenkins
                                             United States District Court Judge




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